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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

MARK WALTERS,                                  )
                    Plaintiff,                 )
                                               )
             v.                                )      No. 1:23-CV-03122-MLB
                                               )
OPENAI, L.L.C.,                                )
                                               )
                    Defendant.                 )


                   PLAINTIFF’S RESPONSE IN OPPOSITION TO
                    DEFENDANT’S MOTION TO DISMISS

      On July 21, 2023, Defendant OpenAI, L.L.C. (“OAI”) filed a motion to

dismiss [Doc. 12] on the grounds of lack of personal jurisdiction (Fed.R.Civ.Proc.

12(b)(2)) and failure to state a claim for which relief may be granted

(Fed.R.Civ.Proc. 12(b)(6)). Plaintiff Mark Walters (“Walters”) will discuss each

ground in turn.

   1. Lack of Personal Jurisdiction

      It is a fundamental tenet in American jurisprudence that a court must have

personal jurisdiction over the parties in order to hear the case. There are two

categories of personal jurisdiction: general jurisdiction and specific jurisdiction.

General jurisdiction applies to an entity that is “essentially at home” in the forum

state. BNSF Railway Co. v. Tyrrell, 137 S.Ct. 1549, 1558, 198 L.Ed.2d 36 (2017).

General jurisdiction confers jurisdiction over the entity for all cases.
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      Specific jurisdiction invokes the forum state’s “long-arm” statute and applies

only to actions that arise in the forum state and otherwise comport with due

process.

      In the present case, Georgia courts have general jurisdiction over OAI. OAI

mistakenly argues that general jurisdiction only exists in the place of incorporation

and the principal place of business. Doc. 12-1, p. 17. OAI cites to Daimler AG v.

Bauman, 571 U.S. 117, 137 (2014) as authority for this proposition. But Daimler

merely lists those fora (place of incorporation and principal place of business) as

the “paradigm” fora. In fact, the Supreme Court explicitly has stated, “The

exercise of general jurisdiction is not limited to these forums….” BNSF, 137 S.Ct.

at 1558.

      In the present case, OAI has chosen to register to do business in Georgia as a

foreign entity. Complaint [Doc. 1-1], ¶ 4. 1 OAI has a registered agent in Georgia

and a registered agent address. Id. The Georgia Supreme Court has ruled that an

entity that registers to do business in Georgia is considered under Georgia law to




1
 See also the web site of the Georgia Secretary of State listing OAI under Control
Number 21083186:
https://ecorp.sos.ga.gov/BusinessSearch/BusinessInformation?businessId=323988
3&businessType=Foreign%20Limited%20Liability%20Company&fromSearch=Tr
ue (last viewed August 29, 2023).
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be a resident of Georgia. Allstate Insurance Co. v. Klein, 262 Ga. 599, 601, 422

S.E.2d 863 (1992).

      Relatively recently, the Georgia Supreme Court revisited the holding in

Klein and concluded that it was still good law and does not violate the Due Process

Clause of the U.S. Constitution. Cooper Tire & Rubber Co. v. McCall, 312 Ga.

422, 863 S.E.2d 81 (2021). In Cooper Tire, the Court affirmed, “Cooper Tire is a

resident corporation subject to personal jurisdiction in this state….” 312 Ga. at

423. This conclusion was based solely on Cooper Tire’s registration to do business

in Georgia, because its place of incorporation is Delaware and its principal place of

business is Ohio. Id.

      OAI is thus “at home” in Georgia for the purposes of general personal

jurisdiction. Because OAI is subject to the general jurisdiction of courts in

Georgia, this Court has personal jurisdiction over OAI.

   2. Failure to State a Claim for Which Relief May be Granted

      In deciding a motion to dismiss under Rule 12(b)(6), the Court must view

the complaint in the light most favorable to the plaintiff and accept well-pleaded

facts as true. American United Life Ins. Co. v. Martinez, 480 F.3d 1043, 1057 (11th

Cir. 2007). Although the complaint need not set forth detailed factual allegations,

it must allege sufficient facts to render the claim “plausible on its face.” Bell

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Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007). “Over and over and over

again – but apparently not often enough – this Court has stated, explained,

reiterated, stressed, rephrased, and emphasized one simple long established, well

publicized Rule of Federal Procedure: A motion to dismiss for failure to state a

claim should not be granted unless it appears to be a certainty that Plaintiff would

not be entitled to recover under any state of facts which could be proved in support

of his claims.” Jackam v. Hospital Corp. of America Mideast, Ltd., 800 F.2d 1577,

1581(11th Cir. 19860.

      A motion under Rule 12(b)(6) must not rely on matters outside the

pleadings, unless the Court treats the motion as one for summary judgment.

Fed.R.Civ.Proc. 12(d). If the Court treats the motion as one for summary

judgment, it must give the parties notice and an opportunity to present additional

material. Id.

Statement of Facts

      With the foregoing tenets in mind, the following facts can be gleaned from

the Complaint:

   1. Walters is a natural person, citizen of the United States, and resident of the

      State of Georgia. Doc. 1-1, ¶ 1.




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2. OAI is a limited liability company created under the laws of the State of

   Delaware. Id., ¶ 2.

3. OAI is registered to do business in the State of Georgia, with a registered

   address at 2 Sun Court, Suite 400, Peachtree Corners, Gwinnett County,

   Georgia. Id., ¶ 4.

4. OAI has an artificial intelligence chat platform, known as ChatGPT. Id., ¶

   5.

5. Users of ChatGPT can interact with the platform in a conversational way, as

   though they are interacting with a human. Id., ¶ 6.

6. ChatGPT can respond to inquiries with sophisticated detail. Id., ¶ 7.

7. Fred Riehl is a third party who works for a media outlet as a journalist and

   who is a subscriber of ChatGPT. Id., ¶8.

8. On May 4, 2023, Riehl interacted with ChatGPT about a lawsuit (the

   “Lawsuit”) that Riehl was reporting on. Id., ¶ 9.

9. The Lawsuit is in federal court in the Western District of Washington, case

   No. 2-23-cv-00647, with short caption of The Second Amendment

   Foundation v. Robert Ferguson. Id., ¶ 10.




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10. The two defendants in the Lawsuit are Robert Ferguson, the Washington

   Attorney General, and Joshua Studor, the Washington Assistant Attorney

   General. Id., ¶ 11.

11. The plaintiffs in the Lawsuit are the Second Amendment Foundation and

   others, including Alan Gottlieb. Id., ¶ 12.

12. Walters is neither a plaintiff nor a defendant in the Lawsuit. Id., ¶ 13.

13. In the interaction with ChatGPT, Riehl provided a (correct) URL of a link

   to the complaint on the Second Amendment Foundation’s web site,

   https://www.saf.org/wp-content/uploads/2023/05/Dkt-1-Complaint.pdf. Id.,

   ¶ 14.

14. Riehl asked ChatGPT to provide a summary of the accusations in the

   complaint. Id., ¶ 15.

15. ChatGPT responded that the document “[I]s a legal complaint filed by Alan

   Gottlieb, the founder and executive vice president of the Second

   Amendment Foundation (SAF), against Mark Walters, who is accused of

   defrauding and embezzling funds from the SAF. The complaint alleges that

   Walters, who served as the organization's treasurer and chief financial

   officer, misappropriated funds for personal expenses without authorization

   or reimbursement, manipulated financial records and bank statements to

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   conceal his activities, and failed to provide accurate and timely financial

   reports and disclosures to the SAF's leadership. The plaintiff seeks various

   forms of relief, including the recovery of misappropriated funds, damages

   for breach of fiduciary duty and fraud, and removal of Walters from his

   position as a member of the SAF's board of directors.” Id., ¶16.

16. Every statement of fact in the summary pertaining to Walters is false. Id., ¶

   17.

17. Walters is not accused of defrauding and embezzling funds from the Second

   Amendment Foundation (“SAF”). Id., ¶ 19.

18. The complaint does not allege that Walters served as SAF’s treasurer or

   chief financial officer, and he has never held either position. Id., ¶ 20.

19. The complaint does not allege that Walters misappropriated funds for

   personal expenses, manipulated financial records or bank statements, or

   failed to provide financial reports to SAF leadership, nor would he have

   been in a position to do so because he has no employment or official

   relationship with SAF. Id., ¶ 21.

20. The complaint does not seek any relief from Walters. Id., ¶ 22.

21. The complaint has nothing at all to do with financial accounting claims

   against anyone. Id., ¶ 23.

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22. Riehl asked ChatGPT to provide him with a copy of the portion of the

   complaint related to Walters. Id., ¶ 24.

23. ChatGPT responded, “Certainly, here is the paragraph from the complaint

   that concerns Walters: ‘Defendant Mark Walters ("Walters") is an individual

   who resides in Georgia. Walters has served as the Treasurer and Chief

   Financial Officer of SAF since at least 2012. Walters has access to SAF's

   bank accounts and financial records and is responsible for maintaining those

   records and providing financial reports to SAF's board of directors. Walters

   owes SAF a fiduciary duty of loyalty and care, and is required to act in good

   faith and with the best interests of SAF in mind. Walters has breached these

   duties and responsibilities by, among other things, embezzling and

   misappropriating SAF's funds and assets for his own benefit, and

   manipulating SAF's financial records and bank statements to conceal his

   activities.’” Id., ¶ 25.

24. Riehl then asked ChatGPT to provide the entire text of the complaint. Id., ¶

   26.

25. ChatGPT provided the text in Exhibit 1 to the Complaint. Id., ¶ 27.

26. Exhibit 1 is a complete fabrication and bears no resemblance to the actual

   complaint, including an erroneous case number. Id., ¶ 28.

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   27. None of ChatGPT’s statements concerning Walters are in the actual

      complaint. Id., ¶ 29.

   28. OAI is aware that ChatGPT sometimes makes up facts, and refers to this

      phenomenon as a “hallucination.” Id., ¶ 30.

   29. Riehl contacted Gottlieb regarding ChatGPT’s allegations concerning

      Walters, and Gottlieb confirmed that they were false. Id., ¶ 31.

   30. ChatGPT’s allegations concerning Walters were false and malicious,

      expressed in print, writing, pictures, or signs, tending to injure Walter’s

      reputation and exposing him to public hatred, contempt, or ridicule. Id., ¶

      32.

   31. OAI knew or should have known its communication to Riehl regarding

      Walters was false, or recklessly disregarded the falsity of the

      communication. Id., ¶ 36.

      Walters observes that in its Motion, OAI introduces a large amount of

material that is outside the Complaint or referenced in the Complaint and therefore

outside the bounds of proper material for a 12(b)(6) motion. For example, OAI

asserts its terms of use, and includes what it claims is a chat between its platform

(ChatGPT) and Walters. The Complaint does not allege that Walters ever had a




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chat with OAI, so OAI’s attempt to introduce such a chat is way outside the

pleadings and should not be considered by the Court.

Applicable Law

      O.C.G.A. § 51-5-1(a) provides, “A libel is a false and malicious defamation

of another, expressed in print, writing, pictures, or signs, tending to injure the

reputation of the person and exposing him to hatred, contempt, or ridicule.”

Publication of libel is essential to recovery. O.C.G.A. § 51-5-1(b). A libel is

published as soon as it is communicated to any person other than the party libeled.

O.C.G.A. § 51-5-3.

      A slander is defined as an oral defamation that, inter alia, imputes to another

a crime punishable by law. O.C.G.A. § 51-5-4(a)(1). For a § 51-5-4(a)(1) slander,

damage is inferred. O.C.G.A. § 51-5-4(b). The definition of slander has been

incorporated into the definition of libel. Smith v. First National Bank, 837 F.2d

1571, 1580 (11th Cir. 1988). In all actions for defamation, malice is inferred but

may be rebutted to mitigate damages. O.C.G.A. § 51-5-5.

      When defamation is apparent from the writing itself, plaintiff may recover

without the necessity of pleading or proving special damages. Rosanova v. Playboy

Enterprises, Inc., 411 F.Supp. 440 (S.D.Ga. 1976). Libel per se consists of a




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charge that one is guilty of a crime, dishonesty, or immorality. Grayson v.

Savannah News-Press, Inc., 110 Ga.App. 561, 139 S.E. 2d 347 (1964).

Argument

      In the present case, OAI published to Riehl statements concerning Walters.

Those statements included allegations that Walters had committed various

financial crimes and acts of dishonesty. They were therefore libelous per se.

Walters has adequately stated a claim for which relief may be granted under

Georgia law.

      OAI counters that because Riehl expressed skepticism over the libelous

statements they are not libelous as a matter of law. OAI’s theory is that if the

reader is skeptical, or outright disbelieves the published material, the material is

not libelous. OAI develops this argument from a series of cases that emphasize

that the allegedly libelous material cannot be “rhetorical hyperbole” and must

“reasonably be interpreted as stating actual facts about an individual.” See, e.g.,

Horsley v. Rivera, 292 F.3d 695 (11th Cir. 2002), citing Milkovich v. Lorain

Lournal Co., 497 U.S. 1, 20, 110 S.Ct. 2695, 111 L.Ed.2d 1 (1990). In Horsley, a

man sued television personality Geraldo Rivera after Rivera publicly called the

man an “accomplice to murder.” The 11th Circuit said it was clear from the context




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that the discussion between the man and Rivera was figurative, “taking place on an

animated, non-literal plane.” 292 F.3d at 702.

      In the present case, however, there was nothing in the context to indicate that

OAI wrote of Walters in some kind of figurative space. This Court should reject

OAI’s invitation to extend lack of actual factual assertion to skepticism on the part

of the reader.

      Next, OAI argues that its ChatGPT process includes one or more disclaimers

so Riehl should have known the statements might not be true. There are multiple

issues with this argument. First, as already noted, any disclaimers by OAI are

outside the pleadings or reasonably inferable from the pleadings, so the Court

cannot consider them. Second a disclaimer does not make an otherwise libelous

statement non-libelous. Harcrow v. Struhar, 236 Ga.App. 403, 511 S.E.2d 545

(1999) (Holding that disclaimer, “I’m not saying that [plaintiffs] are responsible

for this atrocious act” was insufficient to overcome defendant’s accusation that

plaintiffs killed his cat). In effect, OAI’s argument is tantamount to the

neighborhood gossip who says, “Now I don’t know if it’s true, but I heard that ….”

The disclaimer does not negate the libel.




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        Other courts have ruled that a disclaimer at a minimum creates a jury

question of whether there was actual malice. See, e.g., Stokes v. CBS Inc., 25

F.Supp.2d 992, 1003-05 (D.Minn. 1998).

Publication

        OAI next claims that its statements to Riehl were not published. Again,

however, OAI relies on matters outside the pleadings, arguing, that its Terms of

Use made clear that Riehl was the “owner” of the libelous material and that if he

republished the material, he should inform his readers that he is responsible for the

content of what he publishes. It is true that a re-publisher of libel can be

responsible for what he re-publishes. Atlanta Journal Co. v. Doyal, 82 Ga.App.

321, 60 S.E.2d 802 (1950). But that responsibility does not have the effect of

negating the responsibility of the original publisher of the material (in this case,

OAI).

        All that is required for publication is communication of the libelous material

to someone other than the subject. OAI’s statements to Riehl were communication

to someone other than Walter, so the statements were “published” for the purposes

of Georgia law.

        As an alternative, OAI argues that its communications to Riehl qualified as

“intra-corporate” communications and they therefore were not published. OAI

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points to a case where the Georgia Bar contracted with a software manufacturer to

report bar exam results. Murray v. ILG Techs., LLC, 798 F.Appx. 486 (11th Cir.

2020) per curiam (unpublished).

      OAI is not acting as a private contractor with its product. It offers the

product to the public at large, either for free or on a paid subscription basis. OAI

can not more claim its subscribers are “intra-corporate” than can a free or

subscribed-to local newspaper or “weekly shopper.”

   3. Actual Malice

      Lastly, OAI argues that Walters is a public figure and therefore the “actual

malice” standard applies to this case. In attempting to show that Walters is a

public figure, OAI argues that the Court may take judicial notice of the existence

of media concerning Walters. Turner v. Wells, 879 F.3d 1254, 1272 FN 5. What

OAI fails to point out, however, is that in Turner the Court also said it could only

notice of the existence of the articles, but could not use such articles for

determining the truth of the statements contained therein. Id.

      But OAI does exactly what Turner says a court may not do. OAI cites

media accounts, not to show that Walters was featured in them, but to support

facts, such as that Walters “published three critically acclaimed books” and that

Walters is the “Loudest Voice In American Fighting For Gun Rights.” Doc. 12-1,

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p. 27. Media sources may not be used to make such conclusions, and OAI has not

shown sufficient facts to establish that Walters is a general public figure.

      Even if OAI had made that showing, OAI exhibited actual malice toward

Walters. In the defamatory material, OAI made numerous false statements about

Walters. OAI falsely claimed that Walters is the defendant in a named federal

lawsuit. Documents in federal civil actions are readily available to the public via

the court systems PACER application. OAI knew, or had ready access to know,

that the civil action to which it referred simply did not exist.

      OAI also falsely claimed that Walters was the former CFO and treasurer of

the Second Amendment Foundation (“SAF”) and is accused of embezzling from

SAF. SAF publishes the names of its officers on its web site, along with its

audited financial statements. Am. Comp., ¶¶ 24, 26. OAI had ready access to

information that would have shown its statements about Walters were false.

      Moreover, OAI knows that ChatGPT “hallucinates,” which is OAI’s

technical term for when ChatGPT lies, representing statements as factual when in

fact they are complete fabrications. Am.Comp., ¶ 35. Hallucinations of ChatGPT

have been reported in a variety of journals. Id., ¶¶ 36-38. Nevertheless, when

Riehl questioned OAI about the veracity of its statements about Walters, OAI

doubled down and confirmed them to be true, without verifying them. Id., ¶¶ 39-

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41. Even OAI’s CEO has said he trusts ChatGPT “the lease of anybody on Earth.”

Id., ¶ 45.

       Under these circumstances, if OAI did not harbor serious doubts about

whether its statements regarding Walters were true, it only could have failed to do

so by sticking its head in the sand – i.e., by recklessly disregarding whether the

statements were false under circumstances when they knew that ChatGPT’s

hallucinations were pervasive and severe.

Conclusion

       For the foregoing reasons, OAI’s Motion to Dismiss should be denied.




                                               ______/s/ John R. Monroe______________
                                               John R. Monroe
                                               John Monroe Law, P.C.
                                               156 Robert Jones Road
                                               Dawsonville, GA 30534
                                               State Bar No. 516193
                                               678-362-7650
                                               jrm@johnmonroelaw.com
                                               Attorneys for Plaintiff




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                     CERTIFICATE OF COMPLIANCE

      I certify that this brief was prepared using Times New Roman 14 point font

in compliance with Civ.R. 5.1.


                                            /s John R. Monroe
                                            John R. Monroe




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